AO 24 5B-CAED (Rev. 3/0 4) Sheet 1 - Judgment in a Criminal Case



                                     United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                     v.                                                     (For Off enses Committ ed On or After November 1, 1987)
            JOSE CARLOS ALVAREZ                                             Case Number: 1:04CR05097-004


                                                                            Stephen Mensel (appointed)
                                                                            Defendant ’ s Attorney

THE DEFENDANT:
[U]      pleaded guilty to c o u n t(s ): One of t he Superseding Indictment .
[ ]      plead ed n olo co nt end ere t o c ou nt s(s)        w hich w as accept ed by t he co urt .
[ ]      w as f ou nd gu ilt y on co un t (s)     af t e r a p lea o f n ot g u ilt y .

ACCORDINGLY , t he c ou rt has ad jud icat ed t hat t he d ef end ant is gu ilt y of t he f ollo w ing of f ense(s):
                                                                                               Dat e Offense                  Count
Title & Sect ion                     Nat ure of Of fense                                       Concluded                      Number(s)
21 USC 84 3(b)                       Use o f a Com m un icat ion Facilit y t o Facilit at e 10 /1 /2 00 3 and                 ONE
                                     t he Com m ission of a Felony (CLA SS E                0 3 / 2 3 /2 0 0 4
                                     FELONY)




       The defendant is sentenced as provided in pages 2 t hrough 6 of t his ju dg m ent . T he sen t enc e is im po sed
pursuant to t he Sentencing Reform A ct of 1 98 4.

[ ]      Th e def end ant has b een f ou nd no t gu ilt y on co un t s(s)          and is disc harg ed as t o su ch co un t (s).

[ ]      Cou nt (s)       (is)(are) dismissed o n t he m ot ion of t he Unit ed St at es.

[ ]      Ind ict m ent is t o b e dism issed by Dist ric t Cou rt on m ot ion of t he Unit ed St at es.

[ ]      A pp eal righ t s giv en.                      [U]      A pp eal righ t s w aiv ed.

         IT IS FURTH ER ORDERED t hat t he d ef end ant shall n ot if y t he U nit ed St at es A t t orn ey f or t his d ist ric t w it hin
3 0 day s of any ch ang e of nam e, res iden ce, or m ailing add ress u nt il all f ines, rest it ut ion , c ost s, and spec ial
assessments imposed by t his judgment are fully paid. If ordered to pay restitut ion, the defendant must notify the
co urt and Un it ed St at es att orney of m at erial ch anges in eco nom ic c ircum st ances.

                                                                                               1 1 / 7 /0 5
                                                                                    Date of Imposition of Judgm ent



                                                                                            /s /A nt ho ny W . Ish ii
                                                                                       Sign at ure o f J ud icial Of f icer



                                                                         ANT HO NY W . ISHII, United States District Judge
                                                                                 Nam e & Tit le of J ud icial Of f icer

                                                                                                 1 1 / 1 0 /2 0 0 5
                                                                                                       Dat e
AO 24 5B-CAED (Rev. 3/0 4) Sheet 2 - Imprisonment
CA SE NUM BER:              1 : 0 4 CR0 5 0 9 7 -0 0 4                                                                 Judgment - Page 2 of 6
DEFENDANT:                  J OSE CA RLOS A LV A REZ



                                                        IMPRISONMENT
         Th e def end ant is hereb y co m m it t ed t o t he c ust od y of t he U nit ed St at es Bureau of Priso ns t o b e im pris on ed
for a tot al term of 4 8 m ont hs .




[U]      The c ourt m akes t he f ollow ing reco m m endat ions t o t he Bureau of Prisons:
         Th e Cou rt reco m m end s t hat t he d ef end ant be in car cer at ed in a Calif orn ia (Lom po c) f acilit y , b ut on ly inso f ar
         as t his ac c o rd s w i th sec u ri ty c las si fic ati on and space avail abil ity.



[U]      Th e def end ant is rem and ed t o t he c ust od y of t he U nit ed St at es M arshal.



[ ]      T he def endan t s h al l s urren d er to th e U n ited States M arshal for this di strict.
         [ ] at         on      .
         [ ] as n ot if ied b y t he U nit ed St at es M arshal.



[ ]      The defendant shall surrender for service of sentence at t he institut ion designated by the Bureau of
         Prisons:
         [ ] b ef ore     on        .
         [ ] as n ot if ied b y t he U nit ed St at es M arshal.
         [ ] as not if ied by t he Probat ion or Pretrial Servic es Of f icer.
         If no s uc h in sti tu ti o n h as been d es ig n at ed, to the U nited States M arshal for this di strict.


                                                               RETURN
I have executed this judgment as follow s:




         Defendant delivered on                                            to

at                                                  , w ith a certified copy of t his judgment.




                                                                                                       UNITED STATES MA RSHAL



                                                                                    By
                                                                                                          Deputy U.S. Marshal
AO 24 5B-CAED (Rev. 3/0 4) Sheet 3 - Supervised Release
CA SE NUM BER:              1 : 0 4 CR0 5 0 9 7 -0 0 4                                                                   Judgment - Page 3 of 6
DEFENDANT:                  J OSE CA RLOS A LV A REZ


                                                   SUPERVISED RELEASE
         Upon release from imprisonment, t he defendant shall be on supervised release for a term of 12 months (unsupervised, if
deport ed) .


The def endant must report to t he probat ion of fice in t he dist rict to w hich t he def endant is released w it hin 72 hours of release
from the custody of the Bureau of Prisons.

The def endant shall not commit another federal, st ate, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlaw ful use of
cont rolled substance. The def endant shall submit to one drug test w it hin 15 days of release from imprisonment and at least
tw o periodic drug tests thereafter, not t o exceed four (4) drug tests per month.

[]       The above drug testing condition is suspended based on t he court ' s determinat ion that the def endant poses a low risk
         of future substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, destructive device, or any other dangerous w eapon. (Check, if applicable.)

[U]      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The def endant shall regist er w it h t he state sex of fender regist ration agency in t he state w here t he def endant resides,
         w orks, or is a student, as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in
accordance w ith the Schedule of Payments sheet of this judgment.

The def endant must comply w it h t he st andard condit ions t hat have been adopt ed by this court as w ell as w it h any addit ional
condit ions on t he at tached page.

                                 STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district w ithout permission of the court or probation of ficer;
2)    the def endant shall report to t he probat ion of ficer and shall submit a trut hf ul and complet e w rit ten report w it hin the first
      five days of each mont h;
3)    the defendant shall answ er trut hfully all inquiries by t he probation of ficer and follow instruct ions of t he probation of ficer;
4)    the defendant shall support his or her dependant s and meet ot her family responsibilit ies;
5)    the defendant shall w ork regularly at a law ful occupation unless excused by t he probation of ficer for schooling, t raining or
      ot her accept able reasons;
6)    the defendant shall notify t he probation of ficer ten days prior to any change in residence or employment;
7)    the defendant shall refrain f rom excessive use of alcohol;
8)    the defendant shall not frequent places w here controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal act ivit y, and shall not associate with any person
      convict ed of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation of ficer to visit him or her at any time at home or elsew here, and shall permit
      conf iscation of any contraband observed in plain view by t he probation of ficer;
11)   the defendant shall not if y the probat ion officer w it hin sevent y-t w o hours of being arrest ed or quest ioned by a law
      enforcement of ficer;
12)   the defendant shall not enter into any agreement t o act as an informer or a special agent of a law enforcement agency
      w it hout the permission of the court ;
13)   as direct ed by the probation officer, the defendant shall notify t hird parties of risks that may be occasioned by t he
      defendant' s criminal record or personal history or characteristics, and shall permit t he probation officer to make such
      notifications and to conf irm the defendant' s compliance w ith such notif ication requirement.
AO 24 5B-CAED (Rev. 3/0 4) Sheet 3 - Supervised Release
CA SE NUM BER:             1 : 0 4 CR0 5 0 9 7 -0 0 4                                                Judgment - Page 4 of 6
DEFENDANT:                 J OSE CA RLOS A LV A REZ


                                  SPECIAL CONDITIONS OF SUPERVISION
         1.   The defendant shall submit to the search of his person, property, home, and vehicle by a
              United States Probation Officer, or any other authorized person under the immediate and
              personal supervision of the probation officer, based upon reasonable suspicion, without a
              search warrant. Failure to submit to a search may be grounds for revocation. The defendant
              shall warn any other residents that the premises may be subject to searches pursuant to this
              condition.

         2.   As directed by the probation officer, the defendant shall participate in a correctional treatment
              program (inpatient or outpatient) to obtain assistance for drug or alcohol abuse.

         3.   As directed by the probation officer, the defendant shall participate in a program of testing
              (i.e. breath, urine, sweat patch, etc.) to determine if he has reverted to the use of drugs or
              alcohol.

         4.   The defendant shall not possess or have access to any paging device or cellular phone without
              the advance permission of the probation officer. The defendant shall provide all billing
              records for such devices, whether used for business or personal, to the probation officer upon
              request.

         5.   Pursuant to 18 USC 3583(d)(3), upon completion of the term of imprisonment, the defendant
              is to be surrendered to a duly authorized Immigration official for deportation proceeding in
              accordance with the established procedures provided by the Immigration and Nationality Act.
              If ordered deported, during the term of supervised release, the defendant shall remain outside
              the United States and shall not re-enter the United States without the consent of the Attorney
              General or the Secretary of the Department of Homeland Security of the United States.

              Upon any re-entry, lawful or unlawful, into the United States, the defendant shall report in
              person to the United States Probation Office in the Eastern District of California within 72
              hours.

         6.   As directed by the probation officer, the defendant shall participate in a co-payment plan for
              treatment or testing and shall make payment directly to the vendor under contract with the
              United States Probation Office of up to $25 per month.

         7.   The defendant shall cooperate in the collection of DNA as directed by the probation officer.
AO 245B-CAED (Rev. 3/04) Sheet 5 - Criminal Monetary Penalties
CA SE NUM BER:                 1 : 0 4 CR0 5 0 9 7 -0 0 4                                                                  Judgment - Page 5 of 6
DEFENDANT:                     J OSE CA RLOS A LV A REZ


                                            CRIMINAL MONETARY PENALTIES
      The d ef end ant m ust pay t he t ot al crim inal m on et ary pen alt ies un der t he Sc hed ule o f Pay m ent s on Sheet 6 .

                                                    A ssessm ent                       Fine                     Restitut ion
       Tot als:                                      $ 100.00                        $ w aiv ed                     $



[ ]    Th e det erm inat ion of rest it ut ion is def erred u nt il     . A n A m end ed J ud gm ent in a Crim inal Case (A O 2 4 5 C) w ill
       b e ent ered af t er su c h d ete rmi n ati o n .

[ ]    The def end ant m ust m ake re sti tu t i o n (including comm unity restitut ion) to t he follow ing payees in the amount
       l ist ed below .

       If t he d ef end ant m akes a p art i al p ay m en t , eac h pay ee sh all rec eiv e an approx imat ely pro port ioned p aym ent , un less
       spec if ied ot herw ise in t he prio rit y ord er or perc ent age pay m ent co lum n b elow . H ow ever, pu rsuan t t o 1 8 U. S.C.
       § 3 66 4(i), all nonfederal vict ims must be paid before the United States is paid.




Name of Payee                                       Tot al Loss*                 Restitution Ordered       Priority or Percentage



       TOT A LS:                                        $                               $




[]     Restitut ion amount ordered pursuant to plea agreement $

[ ]    The defendant m ust pay interest on restitut ion and a fine of more than $2, 50 0, unless the restitut ion or f ine is
       paid in full before the fift eenth day aft er the date of the judgment, pursuant to 1 8 U.S.C. § 3 61 2(f). A ll of t he
       payment opt ions on Sheet 6 m ay b e subject t o penalt ies fo r d elin qu en c y and default, pursuant to 1 8 U. S. C. §
       36 12 (g).

[ ]          Th e co urt det erm ined t hat t he d ef end ant do es no t hav e t he ab ilit y t o p ay int erest and it is ord ered t hat :

       [ ]    The interest requirement is w aived for the             [ ] fine              [ ] restitut ion

       [ ]    T he in t erest requ irem ent f or t he       [ ] fine [ ] restituti on is modifi ed as foll ow s:




   * * Findin gs f or t he t ot al am ou nt of loss es are requ ired u nd er Chap t ers 1 0 9 A , 1 1 0 , 1 1 0 A , an d 1 1 3 A of Tit le 1 8
fo r o ffenses c om m itt ed o n o r aft er Sep te m b er 1 3, 19 94 , but before A pril 23 , 19 96 .
AO 245B-CAED (Rev. 3/04) Sheet 6 - Schedule of Payments
CA SE NUM BER:               1 : 0 4 CR0 5 0 9 7 -0 0 4                                                                 Judgment - Page 6 of 6
DEFENDANT:                   J OSE CA RLOS A LV A REZ

                                                 SCHEDULE OF PAYMENTS


      Paym ent of t he t ot al fine and ot her crim inal mo net ary pen alties shall be due as f ollow s:

A     [U]          Lum p sum pay m ent of $           100.00        due immediately, balance due

         [ ]       not later than        , or
         [ ]       in ac co rdan ce w it h       [ ] C,    [ ] D,    [ ] E, or      [ ] F below ; or

B     [ ] Payment t o begin immediately (may be combined w ith                      [ ] C,    [ ] D, or         [ ] F below ); or

C     [ ] Pay m ent in eq ual      (e.g., w eekly, mont hly, quarterly) installments of $      over a period of              (e. g. , mont hs
          or y ears), t o c om m enc e     (e.g., 3 0 or 6 0 days) aft er the date of this judgment; or

D     [ ] Payment in eq ual        (e.g ., w eekly, mont hly, quarterly) installments of $     over a period of    (e. g. , mont hs
          or y ears), t o c om m enc e     (e.g., 3 0 or 6 0 days) aft er release from imprisonment t o a term of supervision; or

E     [ ] Payment during the term of supervised release w ill commence w ithin                (e.g. , 3 0 or 6 0 day s) af t er release
          from im pris on m ent . T he c ou rt w ill set t he p ay m ent plan based on an assessment of t he d ef end ant ’ s abilit y
          to pay at t hat time; or

F     [ ] S pec ial ins t ruc ti o n s reg ardi ng th e p ay ment of crimi nal monetary penal ties:




Unless t h e c o urt h as ex p res sly ordered ot herw ise, if t his ju dg m ent im po ses im pris on m ent , p ay m ent of cr im inal
m onet ary penalties is due during imprisonment. A ll criminal monetary penalties, except those paym ents made through
t he Federal Bureau of Prisons' Inmat e Financ ial Respon sibility Program , are mad e to t he clerk o f t he co urt .

The def end ant shall rec eiv e cred it f or all p ay m ent s prev iou sly made tow ard any criminal monetary penalties imposed.

[ ]   J oin t and Sev eral

Defendant and Co-Defendant Names and Case Numbers (including defendant nu m ber), To t al A m ou nt , J oin t and Sev eral
Am o u n t , and c orr espo n d in g p ay e e, if a p prop ri ate:




[ ]   The defendant shall pay t he cost of prosecution.

[ ]   Th e def endant s h al l p ay th e fo ll ow i ng c o u rt cost(s):

[ ]   Th e def endant s h al l fo rfe it t h e d efe n d an t’ s interest in the fol low i ng property to the U ni ted States:




Paym ent s shall be applied in th e fo llow ing ord er: (1 ) assessm ent ; (2 ) restit ut ion princ ipal; (3 ) restit ut ion int erest,
(4) fine principal, (5) fine interest, (6) comm unity restitut ion, (7) penalties, and (8) costs, including costs of
prosec ut ion and co urt co st s.
